Case 2:20-cv-08317-JAK-SHK Document 8 Filed 12/28/20 Page 1 of 1 Page ID #:47




 1
 2                                            JS-6
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11
      STEVEN HUNTER,                              Case No. 2:20-cv-08317-JAK (SHK)
12
                                    Petitioner,
13
                                                  JUDGMENT
14                       v.
15    FELIPE MARTINEZ, JR.,
16                                Respondent.
17
18
19         Pursuant to the Order Dismissing Case, IT IS HEREBY ADJUDGED that this
20   action is DISMISSED without prejudice.
21
22   Dated: December 28, 2020
23
24                                         JOHN A. KRONSTADT
                                           United States District Judge
25
26
27
28
